
667 S.E.2d 276 (2008)
STATE
v.
Terry C. TUCK.
No. 326P08.
Supreme Court of North Carolina.
August 26, 2008.
Robert C. Montgomery, Special Deputy Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.
The following order has been entered on the motion filed on the 9th day of July 2008 by Defendant for "Ex Parte Petition for N.C. Court of Appeals and Wake County Superior Court to Rule on Mandamus and Prohibition by Writ of Certiorari Petition, Rule 21, NC R.Crim. Pro App":
"Motion Dismissed by order of the Court in conference this the 26th day of August 2008."
